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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

 Case No. 2: 18-cv-5934-MWF (KSx)                                     Date: September 13, 2019
 Title      Ox Labs Inc. v. Bitpay, Inc. et al.




 Present: The Honorable:       Karen L. Stevenson, United States Magistrate Judge


                  Gay Roberson                                          CS-09/13/2019
                  Deputy Clerk                                     Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                Philip A. Leider                                    Lawrence Kunin
                David Gutierrez


 Proceedings: MINUTES RE: SETTLEMENT CONFERENCE

        The Court held a settlement conference on September 13, 2019, from 9:30 a.m. to 11:45
 a.m. with Plaintiff’s and Defendant’s counsel, along with Plaintiff’s Company Representative
 George Melika and Defendant’s Company Representative Tony Gallippi.

         The settlement conference was conducted off the record. All parties participated in good
 faith. The matter did not result in a settlement. The Court will remain available to the parties
 should they wish to have further settlement discussions.




                                                                                            2hrs:20mins
                                                                     Initials of Preparer    gr




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